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                                                  January 3, 2025
    VIA ECF
    Honorable Cathy L. Waldor, U.S.M.J.
    United States District Court, District of New Jersey
    Martin Luther King Building & U.S. Courthouse
    50 Walnut Street
    Newark, NJ 07102

            Re:         In re Selenious Acid Litigation, C.A. No. 24-cv-7791 (BRM)(CLW) (consolidated)

    Dear Judge Waldor:

            Along with Carlson, Caspers, Vandenburgh & Lindquist, we represent Defendants Sun
    Pharmaceutical Industries Ltd. and Sun Pharmaceutical Industries, Inc. in the above-referenced
    matter, and write on behalf of the eleven Defendants. We write concerning the January 6, 2025,
    in-person meet-and-confer session (ECF No. 43) to respectfully request that the Court convert
    Monday’s conference from in-person to remote. Only one issue remains: whether the Plaintiffs’
    proposed PI briefing schedule is necessary.

            Defendants believe this issue is premature and does not warrant an in-person conference at
    this time. Plaintiff opposes Defendants’ request and contends that ARI’s proposed PI deadlines are
    not small issues and will likely require substantial discussion.

            By way of background, in furtherance of the parties’ submission regarding a proposed
    schedule in the above-referenced matter (ECF No. 28) and in anticipation of the new complaints
    asserting U.S. Patent No. 12,150,957 (“the ’957 patent”) and subsequent consolidation (see, e.g.,
    ECF No. 52), the parties continued to negotiate a consolidated schedule. The parties have now
    agreed on all dates except the need for the preliminary injunction briefing schedule proposed by
    ARI. The current state of the parties’ efforts to reach an agreement on a schedule, including events
    regarding the ’957 patent, is reflected in the attached Exhibit A.

           We thank the Court for its time and consideration of the Defendants’ request to convert the
    January 6 in-person conference to a remote one.

                                                                        Respectfully submitted,
                                                                        RIVKIN RADLER LLP

                                                                        s/ Gregory D. Miller
                                                                           Gregory D. Miller
    cc: All counsel on record
    Enclosure

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